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                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                DISTRICT OF NEW HAMPSHIRE


 ROBERT F. KENNEDY, JR.,

                  Plaintiff,

  v.                                                              Docket No. 1:23-cv-00487

  DAVID VICKREY,

                  Defendant.


                     DEFENDANT’S ASSENTED-TO MOTION
                  FOR LEAVE TO FILE REPLY TO PLAINTIFF’S
              OBJECTION TO MOTION TO STRIKE NOTICE OF APPEAL

       Pursuant to Local Rule 7.1(e)(2), Defendant, David Vickrey, by and through his attorneys,

Morrison Mahoney LLP, submits the following Motion for Leave to File a Reply to Plaintiff’s

Objection to Mr. Vickrey’s Motion to Strike Notice of Appeal. Pursuant to Local Rule 7.1(e), Mr.

Vickrey’s proposed Reply, attached hereto as Exhibit A, is limited to a rebuttal of factual and legal

arguments raised in Plaintiff’s Objection to Mr. Vickrey’s Motion to Strike. Plaintiff assents to

Mr. Vickrey’s Motion for Leave to File Reply.

       WHEREFORE, Defendant respectfully requests that this Honorable Court:

       A.      Grant Defendant’s Motion for Leave to File Reply;

       B.      File Defendant’s proposed Reply, attached hereto as Exhibit A; and

       C.      Grant any further relief deemed fair or just.




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                                                 Respectfully submitted,

                                                 DAVID VICKREY

                                                 By His Attorneys,

                                                 MORRISON MAHONEY LLP


  March 14, 2024                         By:          /s/ Brian A. Suslak
                                                      Brian A. Suslak, #269917
                                                      bsuslak@morrisonmahoney.com
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                                                      650 Elm Street, Suite 201
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on March 14, 2024.


                                                 /s/ Brian A. Suslak
                                                 Brian A. Suslak, #269917




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                Exhibit A
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                                UNITED STATES DISTRICT COURT
                                           FOR THE
                                 DISTRICT OF NEW HAMPSHIRE


     ROBERT F. KENNEDY, JR.,

                   Plaintiff,

     v.                                                           Docket No. 1:23-cv-00487

     DAVID VICKREY,

                   Defendant.


                       DEFENDANT’S REPLY TO PLAINTIFF’S
                OBJECTION TO MOTION TO STRIKE NOTICE OF APPEAL

          Pursuant to Local Rule 7.1(e)(2), Defendant, David Vickrey, by and through his attorneys,

Morrison Mahoney LLP, submits the following Reply to Plaintiff’s Objection to Mr. Vickrey’s

Motion to Strike Notice of Appeal.

I.        Plaintiff’s Rule 12(f) Argument

          Plaintiff first argues that the Court should deny Mr. Vickrey’s Motion to Strike because a

Rule 12(f) Motion is not the proper avenue for disposing of an untimely notice of appeal. Federal

courts across the country, however, have ruled on and granted motions to strike appeals for various

reasons, including untimeliness. See, e.g., Hughes v. Unnamed Appellees, 2021 WL 9638512, at

*1 (N.D. Ga. 2021) (granting appellee’s motion to strike bankruptcy appeal as untimely); In re:

Blancato, 2019 WL 208853 (D. Nev. 2019) (granting motion to strike notice of appeal due to

appellant’s failure to sign appeal notice); Pearson v. Astrue, 2007 WL 9677187, at *1 (D. Or.

2007) (granting plaintiff’s motion to strike appeal); Benton Harbor Malleable Industries v. Int’l

Union, United Automobile Aircraft & Agricultural Implement Workers of America (UAW-CIO),

355 F.2d 70, 73 (6th Cir. 1966) (granting motion to strike appeal and dismissing appeal). Based




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upon the above case law, Mr. Vickrey submits that the Court may properly consider his Motion to

Strike Plaintiff’s Appeal.

II.    This Court Has Not Been Divested of Jurisdiction Over Mr. Vickrey’s Motion to
       Strike

       Plaintiff also argues that the Court should deny Mr. Vickrey’s Motion to Strike because

Plaintiff’s filing of a Notice of Appeal divested this Court of jurisdiction over this case. Mr.

Vickrey addressed this issue in his Motion to Strike, but briefly re-addresses it here. While the

filing of a notice of appeal traditionally divests the district court of control over the aspects of the

case involved in the appeal, “an untimely, impermissible or frivolous appeal does not vest

jurisdiction in the court of appeals.” U.S. v. Ferris, 751 F.2d 436, 440 (1st Cir. 1984). Here,

because Mr. Vickrey has moved to strike Plaintiff’s appeal as untimely, the District Court retains

jurisdiction over the motion until this issue has been resolved. Accordingly, jurisdiction in this

Court remains proper.

III.   Mr. Vickrey Has Been and Will Continue to Be Prejudiced by Plaintiff’s Untimely
       Appeal of the Dismissal of this Lawsuit

       Plaintiff next argues that Mr. Vickrey cannot demonstrate any prejudice as a result of

Plaintiff’s failure to timely file his appeal. This entire meritless case has caused substantial

prejudice to Mr. Vickrey in terms of the time and resources he has been forced to expend in his

defense, as well as the damage to his personal and professional reputation wrought by Plaintiff in

bringing this lawsuit. If Plaintiff is permitted to flout the Federal Rules of Civil Procedure and

Local Rules of this Court and pursue his appeal despite failing to timely file a Notice of Appeal,

Mr. Vickrey will continue to experience significant prejudice in the form of additional time and

resources that he will need to dedicate to an appeal.




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IV.    Plaintiff’s Failure to Comply with the Applicable Federal and Local Rules Does Not
       Constitute Excusable Neglect

       Plaintiff finally argues that his failure to comply with Rule 4(a)(1)(A) and Local Rule 6.1

constitutes excusable neglect that does not warrant the dismissal/striking of his untimely Notice of

Appeal. Plaintiff more extensively addresses this issue in his separately filed Motion to Extend

Time to File Notice of Appeal, also filed on March 7, 2024, and Mr. Vickrey will respond to these

arguments when he files his Objection to Plaintiff’s Motion to Extend. Because Plaintiff has

addressed this issue in his Objection to Mr. Vickrey’s Motion to Strike, Mr. Vickrey briefly

addresses why Plaintiff’s failure to comply with Rule 4(a)(1)(A) and Local Rule 6.1 does not

constitute excusable neglect.

       A. Plaintiff’s Alleged Internet Connectivity Issues

       First, Plaintiff argues that he experienced technical difficulties—namely problems with his

internet connection—that prevented Plaintiff from timely filing his Notice of Appeal. Mr. Vickrey

first notes that neither Plaintiff nor his counsel ever contacted undersigned counsel for Mr. Vickrey

at any point on February 21, 2024 to report problems with his internet connection and/or to request

an extension of the appeal deadline until such issues could be resolved. See Affidavit of Brian A.

Suslak, Exhibit 1. In fact, undersigned counsel for Mr. Vickrey did not learn of Plaintiff’s

counsel’s alleged internet connection issues until Plaintiff filed his Objection to Mr. Vickrey’s

Motion to Strike, two weeks after Mr. Vickrey filed said motion. See Ex. 1. Courts across the

United States dealing with similar issues have held that alleged internet connectivity issues,

particularly when the party experiencing the issues failed to bring them to the attention of other

counsel, do not constitute excusable neglect. See Airway Leasing, LLC v. MTGLQ Investors,

L.P., 2021 WL 1575208, at *2 (D.R.I. 2021) (noting that “[c]ourts have long been skeptical that

counsel’s difficulty in making a timely electronic filing can ever reasonably be viewed as


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excusable neglect”); Shifers v. Arapahoe Motors, Inc., 2018 WL 6620866, at *4 (D. Colo. 2018)

(rejecting plaintiff’s internet connectivity argument and noting that “[n]umerous other courts have

rejected similar allegations of technical issues as insufficient to establish excusable neglect”);

Smith v. Look Cycle USA, 973 F.Supp.2d 787, 790 (E.D. Va. 2013) (finding that counsel’s alleged

technical problems with computer failed to demonstrate excusable neglect, and noting that

“Plaintiff’s counsel could have contacted defense counsel to indicate any difficulties . . . .”);

Robinson v. Wix Filtration Corp., LLC, 599 F.3d 403, 413 (4th Cir. 2010) (rejecting plaintiff’s

claims of experiencing e-mail difficulties, specifically noting “counsel’s calculated decision—to

inform no one of computer malfunctions of which only he was aware”). Based upon the above-

referenced decisions, and in light of Plaintiff’s failure to contact undersigned counsel at any point

concerning alleged internet connectivity issues, Mr. Vickrey submits that the alleged internet

connectivity issues that allegedly prevented Plaintiff from timely filing his notice of appeal do not

constitute excusable neglect.

       B. Plaintiff’s Failure to Comply With Local Rules

       Plaintiff next argues, in seeming contradiction to his first argument, that he believed he

timely filed his Notice of Appeal because it was filed by midnight in the pacific time zone. Plaintiff

alleges that his failure to timely file the Notice of Appeal by midnight in the eastern time zone, in

which this Court is located, constitutes excusable neglect insofar as Plaintiff was unaware that the

New Hampshire Local Rules required electronic filing by midnight eastern.

       While Mr. Vickrey understands that counsel for Plaintiff is not admitted to practice law in

the State of New Hampshire and may have been unfamiliar with the applicable Local Rules, by

moving for admission pro hac vice in this case, counsel for Plaintiff agreed that he would

familiarize himself with the applicable rules and practice in accordance with said rules. Mr.



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Vickrey also notes that counsel for Plaintiff’s home district, the Central District of California,

includes an identical requirement that filings be made by midnight pacific time, i.e., the time zone

in which that court is located. See C.D. Cal. Local Rules 5-4.6.1. The record before the Court

also shows that Plaintiff clearly was aware of this rule, and the fact that he needed to file by

midnight eastern, as he previously has filed substantive objections just before the midnight

deadline. See Plaintiff’s Objection to Motion to Dismiss, filed on 11/29/23 at 11:32 PM ET. Thus,

Plaintiff was aware, or should have been aware had he familiarized himself with the New

Hampshire Local Rules, that filing needed to occur by midnight in the eastern time zone to be

timely. Plaintiff failed to do so in this case. Courts across the country have held that failure to

comply with the Local Rules does not constitute excusable neglect justifying the set aside of a

dismissal or other dispositive action.     See McDowell-Bonner v. District of Columbia, 668

F.Supp.2d 124, 127 (D.C. Cir. 2009) (noting that plaintiff’s inability to electronically file

opposition prior to deadline “can hardly be considered the result of excusable neglect”); Dimmitt

v. Ockenfels, 407 F.3d 21, 24 (1st Cir. 2005) (holding that plaintiff’s 18-day delay in filing

opposition to complaint, in contravention of Maine District Court Local Rules, did not constitute

excusable neglect); Deo-Agbasi v. Parthenon Group, 229 F.R.D. 348, 353-354 (D. Mass. 2015)

(ruling that paralegal’s failure to timely file pleading per local rules did not constitute excusable

neglect). Considering these factors, Mr. Vickrey submits that Plaintiff’s failure to familiarize

himself with and file pursuant to the New Hampshire Local Rules does not constitute excusable

neglect.

V.     CONCLUSION

       For the reasons set forth above, and in his previously filed Motion to Strike, Mr. Vickrey

respectfully requests that this Honorable Court strike Plaintiff’s Notice of Appeal as untimely.



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                                                 Respectfully submitted,

                                                 DAVID VICKREY

                                                 By His Attorneys,

                                                 MORRISON MAHONEY LLP


  March 14, 2024                         By:          /s/ Brian A. Suslak
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                                                      Fax:     603-622-3466


                                CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on March 14, 2024.


                                                 /s/ Brian A. Suslak
                                                 Brian A. Suslak, #269917




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                 Exhibit 1
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                                 UNITED STATES DISTRICT COURT
                                            FOR THE
                                  DISTRICT OF NEW HAMPSHIRE


 ROBERT F. KENNEDY, JR.,

                    Plaintiff,

  v.                                                               Docket No. 1:23-cv-00487

  DAVID VICKREY,

                    Defendant.


                                 AFFIDAVIT OF BRIAN A. SUSLAK

          I, Brian A. Suslak, depose and state under oath as follows:

          1.     I am over the age of 18 and otherwise competent to make this affidavit.

       2.      I am a partner at the law firm of Morrison Mahoney LLP. In this capacity, I
represent the Defendant, David Vickrey, in the above-captioned lawsuit.

       3.       On January 22, 2024, the Court granted Mr. Vickrey’s Motion to Dismiss the
lawsuit filed by Plaintiff for lack of personal jurisdiction.

       4.       Per the Federal Rules of Civil Procedure and New Hampshire Local Rules, Plaintiff
needed to file his Notice of Appeal by midnight on February 21, 2024.

      5.       Per the e-mail that I received from PACER’s ECF system, Plaintiff filed his Notice
of Appeal at 2:31 AM EST on February 22, 2024.

       6.      Based upon my review of the Federal Rules of Civil Procedure and New Hampshire
Local Rules, I determined that Plaintiff’s Notice of Appeal had not been timely filed.

          7.     On February 22, 2024, I filed a Motion to Strike Plaintiff’s Notice of Appeal in this
Court.

          8.     On February 27, 2024, the U.S. First Circuit Court of Appeals docketed Plaintiff’s
appeal.

        9.      After receiving the notice of the docketing of Plaintiff’s appeal, I spoke to a clerk
at the First Circuit who advised that I could file a notice in the First Circuit, alerting the First
Circuit that Mr. Vickrey had filed a motion in the District Court to strike Plaintiff’s appeal as
untimely.




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        10.     On February 29, 2024, I filed the Notice of Motion to Strike Notice of Appeal in
the First Circuit.

        11.     On March 1, 2024, the First Circuit issued a Show Cause Order to Plaintiff, seeking
briefing as to why Plaintiff’s appeal was not untimely. Plaintiff must respond to the Show Cause
Order by March 15, 2024.

       12.    On March 7, 2024, Plaintiff filed in this Court an Objection to Mr. Vickrey’s
Motion to Strike Notice of Appeal, as well as a Motion to Extend the deadline to file Plaintiff’s
Notice of Appeal.

        13.     In these filings, counsel for Plaintiff claimed that he experienced internet
connectivity issues on February 21, 2024, which purportedly prevented counsel for Plaintiff from
timely filing his Notice of Appeal by midnight on February 21, 2024.

       14.     This was the first time that I ever learned of Plaintiff’s counsel’s alleged internet
connectivity issues when attempting to file Plaintiff’s Notice of Appeal.

       15.     Counsel for Plaintiff never contacted me at any time prior to or following the
February 21, 2024 deadline to report his internet connectivity issues and request an extension of
the deadline to file a Notice of Appeal.

    SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 14th DAY OF
MARCH 2024.

                                                             _____/s/ Brian A. Suslak_______

                                                                     Brian A. Suslak




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